                        Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 1 of 38 Page ID
                                                          #:5700




                           1 Christopher P. Wesierski [Bar No. 086736]
                               cwesierski@wzllp.corn
                           2 Michelle R. Prescott [Bar No. 262638]
                                               // .corn
                           3 WneSTITSta &  llvz REK LLP
                             29 Orchard Road
                           4 Lake Forest, California 92630
                             Telephone: (949) 975-1000
                           5 Facsimile: (949) 756-0517
                          6 Bryan J. Freedman, Esq. (SBN: 151990)
                              bfreedmangftlip.corn
                          7 Jesse A. Kaplan, Esq. (SBN: 255059)
                             jkaplangffilp.corn
                          8 FREEDMAN + TAITELMAN, LLP
                            1801 Century Park West, 5th Floor
                          9 Los Angeles, California 90067
                            Telephone: (310) 201-0005
                         10 Facsimile: (310) 201-0045
                         11 Attorneys for Defendant and Counterclaimant,
                            Lindsey C. Hill
WESIERSKI & ZUREK LLP




                         12
                         13                                      UNITED STATES DISTRICT COURT
                         14                 CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                         15
                         16 TREVOR BAUER,                                         Case No. 8:22-cv-00868 JVS (ADSx)
                         17                         Plaintiff,                    [Assigned to Hon. James V. Selna
                                                                                  Referred to Magistrate Judge Autumn
                         18              VS.                                      D. Spaeth]
                         19 LINDSEY C HILL AND NIRANJAN                           DISCOVERY MATTER:
                            FRED THIAGARAJAH,                                     DECLARATION OF MICHELLE R.
                         20                                                       PRESCOTT IN SUPPORT OF
                                     Defendants,                                  DEFENDANT'S MOTION FOR
                         21                                                       RECONSIDERATION
                            LINDSEY C. HILL,
                         22                                                       [Motion for Reconsideration; Proposed
                                     Counterclaimant,                             Order; and Declaration of Joseph
                         23                                                       Gerling filed concurrently]
                                         VS.
                         24                                                       Hearing Date:    October 11, 2023
                              TREVOR BAUER,                                       Time:            10:00 a.m.
                         25                                                       Courtroom:       6B
                                                    Counter-Defendant,
                         26                                                       Action Filed: April 25, 2022
                                                                                  Discovery Deadline: September 1, 2023
                         27
                                                                                  Pretrial Conference: January 22, 2024
                         28                                                       Trial Date: February 13. 2024

                                                                              1
                              I1942027-1 MER-5137
                                                                                      DECLARATION OF MICHELLE R. PRESCOTT
                        Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 2 of 38 Page ID
                                                          #:5701




                           1                           DECLARATION OF MICHELLE R. PRESCOTT
                           2               I, Michelle R. Prescott, declare as follows:
                           3               1.        I am an attorney at law licensed to practice before all the courts of the
                           4 State of California and am a partner with Wesierski & Zurek LLP, counsel of record
                           5 for Defendant LINDSEY C. HILL.
                           6              2.         The following facts are within my own personal knowledge, except as
                           7 to those matters stated to be on information and belief, which I believe to be true. If
                           8 called as a witness, I could and would competently testify to these facts.
                           9              3.         On June 28, 2023, Judge Autumn D. Spaeth heard Defendant's Motion
                          10 to Compel Further Responses to Requests for Production. Therein, Judge Spaeth
                          11 granted in part and denied in part the Motion to Compel. Regarding Request for
WESIERSKI & ZUREK LLP




                          12 Production No. 93, Judge Spaeth denied the Motion to Compel. Attached hereto as
                          13 Exhibit A is a true and correct copy of the relevant portions of the June 28, 2023
                          14 hearing transcript.
                         15               4.         On July 14, 2023, my office issued an Amended Subpoena to Testify at
                         16 a Deposition in a Civil Action ("Amended Subpoena") to Doe. The Amended
                         17 Subpoena sought Doe's deposition and certain documents. The deposition was
                         18 noticed for August 17, 2023. Attached hereto as Exhibit B is a true and correct
                         19 copy of the Amended Subpoena to Doe.
                         20               5.         On July 15, 2023, Doe was lawfully served with the Amended
                         21 Subpoena by personal service. Attached hereto as Exhibit C is a true and correct
                         22 copy of the proof of service of the Subpoena evidencing Doe being personally
                         23 served on July 15, 2023.
                         24               6.         While not entirely clear, Doe had previously told my client that she was
                         25 represented by Joe Tacopina, Esq. of Tacopina, Seigel, and Deoreo in connection with
                         26 other proceedings. My co-counsel had tried several times to contact Mr. Tacopina by
                         27 telephone about the contemplated Doe deposition without success.
                         28              7.          Unsure of whether Doe was represented by counsel in connection with

                                                                                  2
                               11942027-1 MER-5137                                       DECLARATION OF MICHELLE R. PRESCOTT
                                    Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 3 of 38 Page ID
                                                                      #:5702




                                           1 the Subpoena (or any other matter), on July 26, 2023 my office sent a letter to Mr.
                                          2 Tacopina regarding Subpoena to Doe and the upcoming deposition. The letter also
                                          3 requested that Mr. Tacopina confirm by close of business on July 28, 2023 whether
                                          4 he represented Doe and whether Doe was available for her deposition noticed for
                                          5 August 17, 2023. Attached hereto as Exhibit D is a true and correct copy of my
                                          6 correspondence to Mr. Tacopina. As of the date of this Declaration, I have not
                                          7 received any response from Mr. Tacopina.
                                          8              8.         The next day, my office attempted to contact Doe via text message about
                                          9 the subpoena and to request that Doe or her counsel contact counsel my office and
                                         10 confirm her availability for the August 17, 2023 date noticed for Doe's deposition.
                                         11              9.         Shortly thereafter, on or about August 2, 2023, Doe called me and left a
WESIERSKI & ZUREK LLP




                               O
                               (0
                               (0
                                         12 voicemail indicating that she wanted to discuss the Subpoena.
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                                         13              10.        On August 14, 2023, my co-counsel called Doe to hopefully confer
                        i x00
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                            i o0
                                         14 about her contemplated deposition. When Doe picked up the call, my co-counsel
                           (cE> F" a
                           O , 0)        15 immediately asked Doe if she was represented by counsel. Doe claimed that she
                           0) Ox
                           N  LL
                              Y          16 was represented by Mr. Tacopina. Consequently, my co-counsel immediately ended
                                         17 the phone call.
                                         18              11.        On August 17, 2023, I appeared for Doe's deposition as noticed in the
                                         19 Amended Subpoena. I waited approximately thirty (30) minutes for Doe to arrive,
                                         20 and when it was clear she would not be appearing I took a Notice of Non-
                                         21 Appearance on behalf of Doe. Attached hereto as Exhibit E is a true and correct
                                         22 copy of the Notice of Non-Appearance of Doe for her deposition on August 17,
                                         23 2023.
                                         24              12.        In an effort to compel Doe's attendance at her deposition, I retained Joe
                                         25 Gerling, local counsel admitted to practice before the United States District Court
                                         26 for the Southern District of Ohio to file a Motion to File Under Seal and a Motion
                                         27 for Contempt to Compel Compliance with Deposition Subpoena ("Motion for
                                         28 Contempt") to compel Doe to sit for her deposition. Doe lives in the Southern

                                                                                                 3
                                              11942027-1 MER-5137                                       DECLARATION OF MICHELLE R. PRESCOTT
                               Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 4 of 38 Page ID
                                                                 #:5703




                                  1 District of Ohio and accordingly this was the proper venue to file the Motion to File
                                  2 Under Seal and the Motion for Contempt. I retained Mr. Gerling and specifically
                                  3 instructed him to file a Motion to File Under Seal prior to filing the Motion for
                                  4 Contempt in order to: (1) protect Doe's identity and (2) be able to file the Motion for
                                  5 Contempt to compel the deposition of Doe to obtain critical and highly relevant
                                  6 testimony and documents concerning Doe's relationship with Bauer without being
                                  7 forced to disclose her identity publicly.
                                  8               13.       On August 28, 2023 the Motion to File Under Seal was denied.
                                  9               14.       Because the Motion to File Under Seal was denied, on September 6,
                                 10 2023 I filed an ex parte application seeking an order allowing the Motion for
                                 11 Contempt to be filed in unredacted form an effort to comply with the Court's June
WESIERSKI &ZUREK LLP




                          0)
                          O
                                 12 28, 2023 order indicating the deposition of Doe was the preferred avenue to obtain
                          0)
                       o ?Z      13 the information sought by Request for Production No. 93. The ex parte application
                       1008
                       O I,-
                       ▪ D th    14 is docket number 180 in this Action. As of the execution of this Declaration, the
                       < n
                           0)
                       O
                       O w       15 Court has not ruled on the September 6, 2023 ex parte application.
                       CV 0


                                 16              I declare under penalty of perjury under the laws of the State of California
                                 17 that the foregoing is true and correct.
                                 18              Executed on September 8, 2023, at Lake Forest, California.
                                 19
                                20
                                21                                                              Michelle R. Prescott
                                22
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                                                                                      4
                                      11942027-1 MER-5137                                    DECLARATION OF MICHELLE R. PRESCOTT
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 5 of 38 Page ID
                                  #:5704




         EXHIBIT A
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 6 of 38 Page ID
                                  #:5705


                                                                            51


      1   the argument --

      2              MR. KAPLAN:    Thank you, Your Honor.

      3              THE COURT:    -- and I'll come back with my ruling.

      4        (Recess from 11:30 a.m. to 11:53 a.m.)

      5

      6                               AFTER RECESS

      7        (Call to Order of the Court.)

      8             THE COURT:     All right.   Have a seat.

      9             MR. KAPLAN:     Thank you, Your Honor.

     10             THE COURT:     All right.   This is my ruling:

     11             With regard to RFP Nos. 68 and 69, I am denying the

     12   motion to compel but will require that Mr. Bauer file an --

     13   not file -- serve amended responses that specifically state

     14   that they are withdrawing those allegations.

     15             With regard to RFP No. 114, because the tortious

     16   interference with contract allegation still exists in this

    17    case -- claim -- I am granting the motion to compel.        I find

    18    that the information is relevant to the claims asserted in

    19    this case, that the Court is not bound by the MLB's contract

    20    requirements of confidentiality with Bauer and Hill        and that

    21    Bauer has waived his privacy objections by failing to assert

    22    them in his initial response to the RFP.

    23              With regard to RFP No. 87, I am granting the motion

    24    to compel RFP No. 87.    I find that Hill has met her burden to

    25    establish that the requested information is relevant.       The
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 7 of 38 Page ID
                                  #:5706


                                                                           52


      1   investigations conducted by MLB or law enforcement have all

      2   the same underlying facts at issue in this case, and while

      3   there may be a privacy right, it does not apply to these

      4   specific documents, and the interests our outweighed by

      5   Hill's compelling need for the information for the claims and

      6   defenses at issue.

      7                Now, with regard to RFP No. 92, I'm granting the

      8   motion to compel as to RFP No. 92.      I find that Hill has met

      9   her burden of establishing that the requested information is

     10   relevant and that any rights of privacy are outweighed by

     11   Hill's compelling need for the information for the claims and

     12   defenses asserted in this case.

     13                With regard to RFP No. 93, I am denying the motion

     14   to compel.    This request is largely overbroad, and I find

     15   that Ms. Hill has not met her burden of establishing that the

     16   requested information is proportional in this case.       To a

     17   large degree, my ruling with regard to that is the fact that

     18   there are the depositions.     My ruling might be different if

     19   we find out that the depositions don't occur.      If witnesses

     20   don't show up, then maybe I would have -- might have a

     21   different ruling.

     22             All right?

     23             MR. KAPLAN:     Your Honor, may I ask a clarifying

    24    question as to No. 93?

    25              THE COURT:     Uh-huh.
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 8 of 38 Page ID
                                  #:5707




         EXHIBIT B
     Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 9 of 38 Page ID
                                       #:5708




  AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                          UNITED STATES DISTRICT COURT
                                                                              for the
                                                             Central District of California         El
                             Trevor Bauer
                                                                                )
                                 Plaintiff                                      )
                                    v.                                          )       Civil Action No. 8;22-cv-00868-JVS-ADS
                                                                                )
        Lindsey C. Hill and Niranjan Fred Thiagarajah
                                                                                )
                                Defendant                                       )

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:

                                                         (Name of person to whom this subpoena is directed)

       kr Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
  deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
  party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
  or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
  these matters:

                  L g IS I t       S. High St., St 1670
   Place: Columbus, OH 43215 or via Zoom                                                Date and Time:
          Meeting ID: 85726784062; Passcode: 279368                                                      08/17/2023 10:00 am


            The deposition will be recorded by this method:                   Stenographic and Videotape

           Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: SEE ATTACHED EXHIBIT 1 - DOCUMENTS TO BE PRODUCED




        The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/14/2023
                                    CLERK OF COURT
                                                                                          OR
                                                                                                              /s/ Michelle R. Prescott
                                             Signature of Clerk or Deputy Clerk                                  Attorney's signature


 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)      Lindsey C. Hill
                                                                          , who issues or requests this subpoena, are:
Michelle R. Prescott, Wesierski & Zurek LLP, 29 Orchard Rd., Lake Forest, CA 92630
mprescott@wzIlp.com, (949) 975-1000
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands     the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
   Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 10 of 38 Page ID
                                     #:5709




 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)


Civil Action No. 8:22-cv-00868-JVS-ADS

                                                                PROOF OF SERVICE
                      (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            Cl I served the subpoena by delivering a copy to the named individual as follows:


                                                                                      on (date)                     ; or


            ID I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                       for services, for a total of $   0.00



          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                          Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc.:
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 11 of 38 Page ID
                                  #:5710




                                 ATTACHMENT 1 -


   1.         All communications regarding non-consensual conduct                            has had with

              Trevor Bauer, or his representative(s), at any time.

   2.         All documents reflecting communications with Trevor Bauer about him choking or

              hitting                  , or about                    being unconscious.

   3.         All photographs, videos or motion pictures of Trevor Bauer choking or hitting

                         or of                  being unconscious or partially unconscious, and/or any

              injuries                    allegedly sustained as a result of Trevor Bauer.

   4.         All photographs or videos                     has taken, recorded, or caused to be

              recorded, depicting Trevor Bauer and                      at any time.

   5.        All documents regarding any accusations by                        of physical violence,

             abuse, sexual battery, sexual abuse, battery, assault, and/or rape made against Trevor

             Bauer.

   6.        All documents                      has received from Major League Baseball that address

             any allegations                     has made against Trevor Bauer.




               should contact Ms. Hill's counsel, Brett Smith, Esq, at (949) 975-
  1000 or at bsmith@wzllp.com, to discuss scheduling the deposition.




  11902603-I MER-5137
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 12 of 38 Page ID
                                  #:5711




         EXHIBIT C
       Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 13 of 38 Page ID
                                         #:5712




     Attorney or Party without Attorney:                                                                            For Court Use Only
     Michelle R. Prescott (SBN 262638)
     WESIERSKI & ZUREK, LLP
     29 Orchard Rd
     Lake Forest, CA 92630
       Telephone No: 949-975-1000
        Attorney For                                             Ref. No. or File No.:
                       Lindsey C. Hill
                                                                 MER-5137

     Insert name of Court, andJudicial District and Branch Court:
     UNITED STATES DISTRCT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
       Plaintiff Trevor Bauer
     Defendant: Lindsey C. Hill and Niranjan Fred Thiagarajah

            PROOF OF SERVICE               Hearing Dote:         Time:                   Dept/Div:      Case Number:
                                           08/17/2023            10:00 a.m.                             8:22-cv-00868-JVS-ADS


1.     At the time of service, I was at least 18 years of age and not a party to this action.

2.     I served copies of the Subpoena to Testify at a Deposition in a Civil Action

3.     a.    Party served:
       b.    Person served:   Party in item 3.a.

4.     Address where the party was served:

5.     / served the party:
       a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
       process for the party (1) on: Sat, Jul 15, 2023 (2) at: 11:00 AM



       6. Witness fees were offered or demanded, and paid: $40.00

7. Person Who Served Papers:
   a. ANTONIO GREEN                                                                         d. The Fee for Service was:
   b. FIRST LEGAL INVESTIGATIONS
       2070 N. TUSTIN AVENUE, 2ND FLOOR
       SANTA ANA, CA 92705
   c. (714) 550-1375



8.     / declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                    07/17/2023
                                                                                         (Date)                           (Signature)




                                                                    PROOF OF                                                             9202376
                                                                     SERVICE                                                               (5301)
 RSTLEGAL
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 14 of 38 Page ID
                                  #:5713




         EXHIBIT D
        Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 15 of 38 Page ID
                                          #:5714




CHRISTOPHER P. WESIERSKIT   THOMAS B. CUMMINGSt
RONALD ZUREKt               LISA J. McMAINST           WESIERSKI & ZUREK LLP
TERENCE P. CARNEYt          LYNNE RASMUSSEN
THOMAS G. WIANECKIt         KRISTEN R. RODRIGUE7                    LAWYERS
PAUL _I, LIPMAN             BRETT A. SMITH                                                         100 CCRSON S- REET, SUITE 300
MICHELLE R. PRESCOTT        MATTI iEVV C. SEYMOUR               25 ORCHARD ROAD
                                                                                                   PASADENA, CALIFORNIA 91 103
DAVID M. FERRANTE-ALAN      ABRAHAM S. ODABACHIAN       LAKE FOREST, CALIFORNIA 92630               TELEPHONE (213) 627-2300
MARY H. KIM'                LAYNE M. BUKOVSKIS
                                                            TELEPHONE (9491 975-1000                 FACSIMILE (213) 629-2725
JENNIFER W. NAPLES          CHRISTOPHER A RICHARDSON
CHRISTIAN C.H. COUNTS       ❑ANIELA I. DYKES                FACSIMILE (948) 756-0517
KATHRYN J. HARVEY           SCARLET R. RUSH
STEPHANIE H. HSIEH          KAREN A. RAGLAND
ABE G. SALEN                GREGORY S. MILLER
EILEEN SPADONI              ERIC J. STENBERG
                                                                                                          SENDER'S E-MAIL'
LAURA J. BARNS              JOSHUA A. NUZZO
                                                                                                       MPRESCOTTOWZI-LP. COM
ARPINEH YEREMIAN            NADEZHDA B. OSIPOVA



t AMERICAN BOARD OF TRIAL   ALSO ADMITTED IN
ADVOCATES (ABOTA)           'CONNECTICUT                        July 26, 2023



               VIA ELECTRONIC MAIL ONLY

              Joe Tacopina, Esq.
              Tacopina, Seigel, & Deoreo
              jtacopina@tacopinalaw.com; info@tacopinalaw.com
              275 Madison Ave., 35th Floor
              New York, NY 10016

                        Re:        Bauer v. Hill
                                   Case No.:            8:22-cv-00868-JVS-ADS
                                   Venue:               USDC — Central District of CA, Southern Division.
                                   Trial Date:          February 13, 2024
                                   Our File No.:        MFR-5137

              Dear Mr. Tacopina:

              This letter is to inform you of our office's July 15, 2023 service of a deposition subpoena
              upon                                 Over the course of discovery in the above-listed matter,
              we have attempted to contact your office on multiple occasions by phone and email without
              success, response or acknowledgement. As such, we are unaware of the status of your
              representation of               This correspondence serves as a final effort to connect before
              reaching out to              directl

                          deposition in this matter is set to occur on August 17, 2023 at 10:00 a.m.
              PST, at Veritext Legal Solutions, 41 S. High St., Ste 1670, Columbus, OH 43215.
              Again,            was served with a deposition subpoena on July 15, 2023.

             As you may know, this is a bicoastal lawsuit which involves a number of attorneys who will
             be traveling to Ohio for the purpose of soliciting               testimony relevant to this
             matter. On June 28, 2023, Magistrate Judge Autumn        D.  Spaeth  denied Trevor Bauer's


               For your reference, please see attached Subpoena and Amended Deposition Notice to


             I1911366-1 MER-5137
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 16 of 38 Page ID
                                  #:5715




   Joe Tacopina
   July 26, 2023
   Page 2


   Motion for a Protective Order to prevent                from testifying at a de osition in this
   lawsuit. Accordingly, our office has revised and reissued its subpoena to                based
   on the Court's order.

   B the close of business on Frida ul 28, 2023, please advise if you are still representing
                  and whether              is available for her deposition on August   1r,or if
   alternative arrangements are necessary. If we do not hear back from you by then, we will
   reasonably assume that you are not representing                 and we will reach out to.
   directly about     deposition.



                                                   Very truly yours,

                                                   WESIF,RSKI & ZUREK LLP

                                                                       Fe

                                                  Michelle R. Prescott
                                                  Senior Partner

   MP :BAS
   Enclosed: Subpoena to

   cc:      Jesse Kaplan, Esq.




  11911366-1 NIER-5137
   Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 17 of 38 Page ID
                                     #:5716




 AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action (Page 2)


 Civil Action No. 8:22-cv-00868-JVS-ADS

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)

             El I served the subpoena by delivering a copy to the named individual as follows:


                                                                                      on (date)                     ; or

             CI I returned the subpoena unexecuted because:



           Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
           tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                       for services, for a total of $   0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server's signature



                                                                                          Printed name and title




                                                                                             Server's address

Additional information regarding attempted service, etc.:
    Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 18 of 38 Page ID
                                      #:5717




  AO 88A (Rev. 12/20) Subpoena to Testify at a Deposition in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                              for the
                                                             Central District of California        a
                            Trevor Bauer
                                 Plaintiff
                                                                                )
                                    V.                                                  Civil Action No. 8:22-cv-00868-JVS-ADS

        Lindsey C. Hill and Niranjan Fred Thiagarajah
                               Defendant

                               SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

  To:

                                                         (Name ofperson to whom this subpoena is directed)

         eTestimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
  deposition to be taken in this civil action. If you are an organization, you must promptly confer in good faith with the
  party serving this subpoena about the following matters, or those set forth in an attachment, and you must designate one
  or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about
  these matters:

          VeritextLg ISolutions 41 S. High St., Ste 1670
   Place: Columbus, OH 43215 or via Zoom                                                Date and Time:
          Meeting ID: 85726784062; Passcode: 279368                                                      08/17/2023 10:00 am

             The deposition will be recorded by this method:                  Stenographic and Videotape

           Production: You, or your representatives, must also bring with you to the deposition the following documents,
           electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
           material: SEE ATTACHED EXHIBIT 1 - DOCUMENTS TO BE PRODUCED




         The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        07/14/2023
                                   CLERK OF COURT
                                                                                          OR
                                                                                                             /s/ Michelle R. Prescott
                                             Signature of Clerk or Deputy Clerk                                 Attorney's signature

 The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)                             Lindsey C. Hill
                                                                          , who issues or requests this subpoena, are:
Michelle R. Prescott, Wesierski & Lurek LLP, 29 Orchard Rd., Lake Forest, CA 92630
mprescott@wzIlp.com, (949) 975-1000
                                 Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things before
 trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
 whom it is directed. Fed. R. Civ. P. 45(a)(4).
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 19 of 38 Page ID
                                  #:5718




                                 ATTACHMENT 1 -


   1.         All communications regarding non-consensual conduct                           has had with

              Trevor Bauer, or his representative(s), at any time.

   2.         All documents reflecting communications with Trevor Bauer about him choking or

              hitting                    or about                    being unconscious.

   3.         All photographs, videos or motion pictures of Trevor Bauer choking or hitting

                         or of                 being unconscious or partially unconscious, and/or any

              injuries                   allegedly sustained as a result of Trevor Bauer.

   4.        All photographs or videos                     has taken, recorded, or caused to be

             recorded, depicting Trevor Bauer and                      at any time.

   5.        All documents regarding any accusations by                       of physical violence,

             abuse, sexual battery, sexual abuse, battery, assault, and/or rape made against Trevor

             Bauer.

   6.        All documents                      has received from Major League Baseball that address

             any allegations                    has made against Trevor Bauer.




               should contact Ms. Hill's counsel, Brett Smith, Esq, at (949) 975-
  1000 or at bsmith@wzllp.com, to discuss scheduling the deposition.




  I1902603-I MER-5137
      Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 20 of 38 Page ID
                                        #:5719




     Attorney or Party without Attorney:                                                                             For Court Use Only
     Michelle R. Prescott (SBN 262638)
     WESIERSKI & ZUREK, LLP
     29 Orchard Rd
     Lake Forest, CA 92630
       Telephone No: 949-975-1000
        Attorney For:                                            Ref. No. or File No.:
                        Lindsey C. Hill
                                                                 MER-5137

     Insert name of Court, and judicial District and Branch Court:
     UNITED STATES DISTRCT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA
       Plaintiff Trevor Bauer
     Defendant: Lindsey C. Hill and Niranjan Fred Thiagarajah

            PROOF OF SERVICE                Hearing Date:        Time:                   Dept/Div:      Case Number:
                                            08/17/2023           10:00 a.m.                             8:22-cv-00868-JVS-ADS


1.     At the time of service, I was at least 18 years of age and not a party to this action.

2.     I served copies of the Subpoena to Testify at a Deposition in a Civil Action

3.     a.    Party served:
       b.    Person served:    Party in item 3.a.

4.     Address where the party was served:

5.     / served the party:
       a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
       process for the party (1) on: Sat, Jul 15, 2023 (2) at: 11:00 AM



       6. Witness fees were offered or demanded, and paid: $40.00

7. Person Who Served Papers:
   a. ANTONIO GREEN                                                                         d. The Fee for Service was:
   b. FIRST LEGAL INVESTIGATIONS
       2070 N. TUSTIN AVENUE, 2ND FLOOR
      SANTA ANA, CA 92705
   c. (714) 550-1375



8.     / declare under penalty ofperjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                         (Date)                           (Signature)




                                                                    PROOF OF                                                              9202376
                                                                     SERVICE                                                                (5301)
 IRSTLEGAL
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 21 of 38 Page ID
                                  #:5720




     1 Christopher P. Wesierski [Bar No. 086736]
         cwesierski@wzlip.corn
     2 Michelle R. Prescott [Bar No. 262638]
         mprescott@wzllp.corn
     3 Eileen Spadoni [Bar No. 133259]
         espadoni@wzllp.corn
     4 Brett A. Smith [Bar No. 322707]
         bsmithAwzllp.com
     5 WESIER KI & ZUREK LLP
       29 Orchard Road
     6 Lake Forest, California 92630
       Telephone: (949) 975-1000
     7 Facsimile: (949) 756-0517
    8 Bryan J. Freedman, Esq. (SBN: 151990)
        bfreedrnan@ftllp.corn
    9 Jesse A. Kapfan, Esq. (SBN: 255059)
       Ikciplan@fillp.corn
   10 FREEDIVW\TI   + TAITELMAN, LLP
      1801 Century Park West, 5th Floor
   11 Los Angeles California 90067
      Telephone: (310) 201-0005
   12 Facsimile: 310) 201-0045
   13 Attorneys for Defendant, Lindsey C. Hill
   14
   15                                      UNITED STATES DISTRICT COURT
   16                CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   17
   18 TREVOR BAUER,                                          Case No. 8:22-cv-00868 JVS(ADSx)
   19                         Plaintiff,                     AMENDED NOTICE OF
                                                             DEPOSITION OF
   20              VS.

   21 LINDSEY C HILL AND NIRANJAN                            Action Filed:        April 25, 2022
      FRED THIAGARAJAH,
   22
               Defendant.
   23
   24
   25              PLEASE TAKE NOTICE that, pursuant to the Federal Rule of Civil
   26 Procedure 45, Defendant LINDSEY C. HILL, by and through the undersigned
   27 attorneys, will take the videotaped deposition of                                          pursuant
   28 to the Subpoena to Testify at Deposition in a Civil Action attached hereto as Exhibit

                                                         1                Case No. 8:22-cv-00868 JVS(ADSx)
        11856297-1 MER-5137                       AMENDED NOTICE OF DEPOSITION OF
            Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 22 of 38 Page ID
                                              #:5721




                             1 "A" on August 17, 2023 beginning at 10:00 a.m. PST, at Veritext Legal Solutions,
                             2 41 S. High St., Ste 1670, Columbus, OH, or via Zoom.
                             3                If for any reason the taking of the deposition is not completed on the scheduled
                             4 date, it shall be continued from day to day, excluding Sundays and holidays until
                             5 completed.
                             6                Notice is further given that under Fed.R.Civ.P. 30(b)(2) that the deposition may
                             7 be recorded stenographically and may also be recorded by real-time transcription
                         8 and/or by videotape.
                             9               PLEASE TAKE FURTHER NOTICE that under Fed.R.Civ.P. 45 the deponent
                        10 is required to produce the following documents at the time of deposition:
                        11                   1.         All communications regarding non-consensual conduct
                        12                                         has had with Trevor Bauer, or his representative(s), at any
          g . 13                                       time.
N
        o
          '6 8
        1.
               14
             .j)" 0')
                                             2.        All documents reflecting communications with Trevor Bauer about him
    .n (t         ln:

                        15                             choking or hitting                      , or about                     being
6       r9
                        16                             unconscious.
                        17                   3.        All photographs, videos or motion pictures of Trevor Bauer choking or
                        18                             hitting                      or of                    being unconscious or
                        19                             partially unconscious, and/or any injuries                       allegedly
                        20                             sustained as a result of Trevor Bauer.
                        21                  4.         All photographs or videos                        has taken, recorded, or
                        22                             caused to be recorded, depicting Trevor Bauer and                          at
                        23                             any time.
                        24                  5.         All documents regarding any accusations by                          of
                        25                             physical violence, abuse, sexual battery, sexual abuse, battery, assault,
                        26                             and/or rape made against Trevor Bauer.
                        27                 6.          All documents                        has received from Major League
                        28                             Baseball that address any allegations                       has made

                                                                                    2                Case No. 8:22-cv-00868 JVS(ADSx)
                                 11856297-1 MER-5137                         AMENDED NOTICE OF DEPOSITION OF
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 23 of 38 Page ID
                                  #:5722




     1                         against Trevor Bauer.
     2              NOTICE IS HEREBY GIVEN that deponent's deposition transcript may be the
     3 official record and may be used in lieu of testimony at the time of trial of the above-
     4 entitled action.
     5              NOTICE IS HEREBY GIVEN that the oral examination is to be taken for
     6 purposes of discovery, for use at trial, or for such other purposes as are permitted
     7 under the Federal Rules of Civil Procedure, the local rules of the United States District
     8 Court for the Central District of California, and all Case Management Orders entered
     9 by the Court.
   10
   11 DATED: July 14, 2023                             WESIERSKI & ZUREK LLP
   12
   13
                                                       By:
   14
                                                             CHRISTOPHER P. WESIERSKI
   15                                                        MICHELLE R. PRESCOTT
   16                                                        Attorneys for Defendant, Lindsey C. Hill

   17
   18
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   27
   28

                                                             3               Case No. 8:22-cv-00868 JVS(ADSx)
         11856297-1 MER-5137                     AMENDED NOTICE OF DEPOSITION OF
                         Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 24 of 38 Page ID
                                                           #:5723




                                                                    PROOF OF SERVICE
                              2 STATE OF CALIFORNIA, COUNTY OF ORANGE
                              3       At the time of service, I was over 18 years of age and not a party to this
                                action. I am employed in the County of Orange, State of California. My business
                              4 address is 29 Orchard Road, Lake Forest, CA 92630.
                              5        On July 14, 2023, T served true copies of the following document(s) described
                                as AMENDED NOTICE OF DEPOSITION OF                                              on
                              6 the interested parties in this action as follows:
                             7 Shawn C. Holley, Esq.                                Attorney for Plaintiff, Trevor Bauer
                               Kate E. Mangels, Esq.
                             8 Suann Maclssac, Esq.
                               Kinsella Weitzman Iser Kump Holley LLP
                             9 11766 Wilshire Blvd., Suite 750
                               Los Angeles, CA 90025
                            10 Phone: 310-566-9822
                               Fax: 310-566-9850
                            11 E-Mail: sholley@kwikhlaw.com;
                               kmangels kwikalaw.com;
WESIERSKI & ZUREK LLF'




                            12 smacisaac ,kwikhlaw.corn
                            13 Blair G. Brown, Esq.                                 Attorney for Plaintiff, Trevor Bauer
                               Jon R. Fetterolf Esq.
                            14 Nell Peyser, Esq.
                               Zuckerman Spaeder LLP
                            15 1800 M. Street, N. W. Suite 1000
                               Washingtion, D.0 20036
                            16 Phone: 202-778-1800
                               Fax: 202-882-8106
                            17 E-Mail: bbrown@zuckerman.com;
                               jfetterolf@zuckerman.com;
                            18 NI?eyser@Zuckerman.com;
                               ksimmerson@zuckerman.com
                            19
                            20        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
                               the document(s) to be sent from e-mail address canderson@wzllp.com to the
                            21 persons at the e-mail addresses listed in the Service List. Fdid not receive, within a
                               reasonable time after the transmission, any electronic message or other indication
                            22 that the transmission was unsuccessful.
                            23       I declare under penalty of perjury under the laws of the United States of
                               America that the foregoing is true and correct and that I am employed in the office
                            24 of a member of the bar of this Court at whose direction the service was made.
                            25              Executed on July 14, 2023, at Lake Forest, California.
                            26
                            27                                                        s/ CHELSEA ANDERSON
                                                                                Chelsea Anderson
                            28

                                                                             4                Case No. 8:22-cv-00868 JVS(ADSx)
                                  11856297-1 MER-5137                 AMENDED NOTICE OF DEPOSITION OF
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 25 of 38 Page ID
                                  #:5724




          EXHIBIT E
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 26 of 38 Page ID
                                  #:5725



                                     August 17, 2023

                      UNITED STATES DISTRICT COURT
          CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
   2
                                     *

   3
        TREVOR BAUER,
   4
                 Plaintiff,
   5
                vs.                CASE NO. 8:22-cv-00868-JVS(ADSx)
   6
        LINDSEY C. HILL and
   7    NIRANJAN FRED THIAGARAJAH,
   8             Defendants.
   9                                 *   *   *

  10                  CERTIFICATE OF NON-APPEARANCE
                              OF
  11
  12           I, Monica K. Schrader, Court Reporter in and
  13    for the State of Ohio, do hereby certify that I
  14    was present at the office of Veritext Legal
  15    Solutions, 41 South High Street, Suite 1670,
  16    Columbus, Ohio, on August 17, 2023, at 10:00 a.m.,
  17    for the purpose of reporting the deposition of
  18                          scheduled to begin at 10:00 a.m.,
  19    and the deponent did not appear.
  20          Under penalties of perjury, I declare that I
  21    have read the foregoing certificate and that the
  22    facts stated it
  23            DATED T H:     QPIWt.c-c      L5C-44--et.-465/1.
  24
                             MONICA K. SCHRADER, Court Reporter
  25                              *     *


                                                                    Page 1

                          Atkinson-Baker, A Veritext Company
                                    (818) 551-7300                 www.veritext.com
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 27 of 38 Page ID
                                  #:5726




                       California Code of Civil Procedure

                       Article 5. Transcript or Recording

                                Section 2025.520



               (a) If the deposition testimony is

           stenographically recorded, the deposition officer

           shall send written     notice   to the deponent and to

           all parties attending the deposition when the

           Original transcript of the testimony for each

           session of the deposition is available for reading,

           correcting, and signing, unless the deponent and

           the attending parties agree on the record that the

           reading, correcting, and signing of the transcript

           of the testimony    will   be waived   or that the

           reading, correcting, and signing of a transcript of

           the testimony will take place after the entire

           deposition has been concluded or at some other

           specific time.

               (b)   For 30 days following each notice under

           subdivision (a), unless the attending parties and

           the deponent agree on the record or otherwise in

           writing to a longer or shorter time period, the

           deponent may change the form or the substance of

           the answer to a question, and may either approve

           the transcript of the deposition       by signing    it, or
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                                  #:5727




           refuse    to approve   the   transcript by not signing     it.

               (c)   Alternatively, within this same period, the

           deponent may change the form or the substance         of

           the answer to any question and may approve or

           refuse to approve the transcript by means of a

           letter to the deposition officer signed by the

           deponent which is mailed by certified or registered

           mail with return receipt requested. A copy of that

           letter shall be sent by first-class mail to all

           parties attending the deposition.

               (d)   For good cause shown, the court may shorten

           the 30-day period for making changes, approving, or

           refusing to approve the transcript.

               (e)   The deposition     officer shall indicate on the

           original of the transcript, if the deponent has not

           already done so at the office of the deposition

           officer, any action taken by the deponent and

           indicate on the original of the transcript, the

           deponent's approval of, or failure or refusal to

           approve, the transcript. The deposition officer

           shall also notify in writing the parties attending

           the deposition of any changes which the deponent

           timely made in person.

              (f)    If the deponent fails or refuses to approve

           the transcript within the allotted period, the
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 29 of 38 Page ID
                                  #:5728




            deposition          shall   be    given    the   same      effect    as though

            it    had    been   approved,          subject   to any changes           timely

            made by the deponent.

            (g)   Notwithstanding subdivision (f), on a

            seasonable motion to suppress the deposition,

           accompanied by a meet and confer declaration under

           Section 2016.040, the court may determine that the

            reasons given for the failure or refusal to approve

           the transcript require rejection of the deposition

           in whole or in part.

           (h)    The court shall impose a monetary sanction

           under Chapter 7 (commencing with Section 2023.010)

           against any party, person, or attorney who

           unsuccessfully          makes      or    opposes a motion        to

           suppress a deposition               under this section,          unless

           the court finds          that the one subject               to the

           sanction acted with substantial justification or

           that other circumstances make the imposition of the

           sanction unjust.




           DISCLAIMER:          THE FOREGOING CIVIL PROCEDURE RULES

           ARE PROVIDED          FOR INFORMATIONAL           PURPOSES      ONLY.

           THE     ABOVE    RULES       ARE    CURRENT       AS   OF    APRIL    1,

           2019.        PLEASE REFER TO THE APPLICABLE STATE RULES

           OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 30 of 38 Page ID
                                  #:5729




                        VERITEXT LEGAL SOLUTIONS


             COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

       Veritext Legal Solutions represents that the

       foregoing transcript is a true, correct and complete

       transcript of the colloquies, questions and answers

       as submitted by the deposition officer. Veritext

       Legal Solutions further represents that the attached

       exhibits, if any, are true, correct and complete

       documents as submitted by the deposition officer

       and/or attorneys in relation to this deposition and

       that the documents were processed in accordance with

       our litigation support and production standards.


       Veritext Legal Solutions is committed to maintaining

       the confidentiality of client and witness information,

       in accordance with the regulations promulgated under

       the Health Insurance Portability and Accountability

       Act (HIPAA), as amended with respect to protected

       health information and the Gramm-Leach-Bliley Act, as

       amended, with respect to Personally Identifiable

       Information (PII). Physical transcripts and exhibits

       are managed under strict facility and personnel access

       controls. Electronic files of documents are stored

      in encrypted form and are transmitted in an encrypted
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 31 of 38 Page ID
                                  #:5730




       fashion to authenticated parties who are permitted to

       access the material. Our data is hosted in SSAE 16

       certified facilities.


       Veritext Legal Solutions complies with all federal and

       State regulations with respect to the provision of

       deposition services, and maintains its neutrality and

       independence regardless of relationship or the

       financial outcome of any litigation. Veritext requires

       adherence to the foregoing professional and ethical

       standards from all of its subcontractors in their

       independent contractor agreements.


       Inquiries about Veritext Legal Solutions'

       confidentiality and security policies and practices

       should be directed to Veritext's Client Services

       Associates indicated on the cover of this document or

       at www.veritext.com.
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                                  #:5731




          EXHIBIT F
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 33 of 38 Page ID
                                  #:5732




  Original Message
  From: Michelle R. Prescott
  Sent: Wednesday, September 6, 2023 9:13 AM
  To: Brown, Blair G. <bbrown@zuckerman.com>
  Cc: Leslie S. Sotelo <LSotelo@wzllp.com>; Fetterolf, Jon R. <JFetterolf@zuckerman.com>; Peyser, Nell Z
  <NPevser@zuckerman.com>, Simmerson, Kelsey <ksimmerson@zuckerman.com>;
  sholley@kwikhlaw.com; kmangels@kwikalaw.com; smacisaac@kwikhlaw.com; Christopher Wesierski
  <CWesierski@WZLLP.COM>; Eileen Spadoni <ESpadoni@WZLLP.COM>; Brett Smith
  <BSmith@WZLLP.COM>; Debbie Cooper <dcooper@wzllp.com>; Antonio Ramos
  <ARamos@WZLLP.COM>; Kelly Atherton <KAtherton@WZLLP.COM>; Chelsea Anderson
  <CAnderson@WZLLP.COM>; Jesse Kaplan <jkaplan@ftllp.com>
  Subject: RE: Bauer v. Hill I Ex Parte Notice - Filing Today 9-6-2023

  Counsel,

  Please allow this email to serve as a formal meet and confer attempt in advance of our filing an Ex Parte
  Application for an Order Allowing Lindsey C. Hill to File a Motion For Contempt for Failure to Appear at
  Deposition and For an Order Extending the Discovery Cutoff to Allow Hill to Depose Jane Doe.

 Ms. Hill is seeking ex parte relief because Doe is the sole avenue for Hill to obtain critical information
 relevant to her claims and defenses and Hill has already diligently attempted to compel Doe's deposition
 while complying with the Amended Stipulated Protective Order and by not naming Doe publicly. In
 order to compel Doe's attendance, a motion for contempt must be filed in unredacted form in the
 Southern District of Ohio where Doe resides. The requested relief will allow Hill to comply with the
 Southern District of Ohio's regulations and with the Amended Stipulated Protective Order. We will
 further being asking for relief to be able to take Doe's deposition after the close of discovery.

 We had withdrawn the prior ex parte application based on Mr. Brown's communication below and
 corrected the mistakes contained in the prior ex parte application. On Monday, September 4, 2023, Mr.
 Brown and I discussed the ex parte application and he indicated that plaintiff would oppose. Please
 advise if that is still your intention.

 Michelle R. Prescott
 Wesierski & Zurek LLP
 29 Orchard Road, Lake Forest, CA 92630
 Tel. No. (949) 975-1000
 Fax. No. (949) 756-0517
 Email mprescott@wzllp.com

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 Confidential Communication: Emails from this firm normally contain confidential and privileged material
 and are for the sole use of the intended recipient. Use or distribution by an unintended recipient is
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 anticipation of litigation or in furtherance of litigation. The attorney client privilege, work product
 doctrine and privacy rights of the sender, recipients and third parties are specifically asserted as to this
 communication and all attachments, in addition to all other protections afforded by law, including
 without limitation, HIPAA, physician/patient privilege, trade secret, tax privacy, copyright and trademark
 laws. If you believe that you received this email in error, please do not read this email or any attached
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 34 of 38 Page ID
                                  #:5733




  items. Please delete the email and all attachments, including any copies thereof, and inform the sender
  that you have deleted the email, all attachments and any copies thereof. Thank you.
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 35 of 38 Page ID
                                  #:5734




  Original Message
  From: Michelle R. Prescott
  Sent: Wednesday, September 6, 2023 9:13 AM
  To: Brown, Blair G. <bbrown@zuckerman.com>
  Cc: Leslie S. Sotelo <LSotelo@wzllp.com>; Fetterolf, Jon R. <JFetterolf@zuckerman.com>; Peyser, Nell Z
  <NPeyser@zuckerman.com>; Simmerson, Kelsey <ksimmerson@zuckerman.com>;
  sholley@kwikhlaw.com; kmangels@kwikalaw.com; smacisaac@kwikhlaw.com; Christopher Wesierski
  <CWesierski@WZLLP.COM>; Eileen Spadoni <ESpadoni@WZLLP.COM>; Brett Smith
  <BSmith@WZLLP.COM>; Debbie Cooper <dcooper@wzilp.com>; Antonio Ramos
  <ARamos@WZLLP.COM>; Kelly Atherton <KAtherton@WZLLP.COM>; Chelsea Anderson
  <CAnderson@WZLLP.COM>; Jesse Kaplan <ikaplan@ftlIp.com>
  Subject: RE: Bauer v. Hill I Ex Parte Notice - Filing Today 9-6-2023

  Counsel,

  Please allow this email to serve as a formal meet and confer attempt in advance of our filing an Ex Parte
  Application for an Order Allowing Lindsey C. Hill to File a Motion For Contempt for Failure to Appear at
  Deposition and For an Order Extending the Discovery Cutoff to Allow Hill to Depose Jane Doe.

  Ms. Hill is seeking ex parte relief because Doe is the sole avenue for Hill to obtain critical information
  relevant to her claims and defenses and Hill has already diligently attempted to compel Doe's deposition
  while complying with the Amended Stipulated Protective Order and by not naming Doe publicly. In
  order to compel Doe's attendance, a motion for contempt must be filed in unredacted form in the
  Southern District of Ohio where Doe resides. The requested relief will allow Hill to comply with the
  Southern District of Ohio's regulations and with the Amended Stipulated Protective Order. We will
  further being asking for relief to be able to take Doe's deposition after the close of discovery.

  We had withdrawn the prior ex parte application based on Mr. Brown's communication below and
  corrected the mistakes contained in the prior ex parte application. On Monday, September 4, 2023, Mr.
  Brown and I discussed the ex parte application and he indicated that plaintiff would oppose. Please
  advise if that is still your intention.

 Michelle R. Prescott
 Wesierski & Zurek LLP
 29 Orchard Road, Lake Forest, CA 92630
 Tel. No. (949) 975-1000
 Fax. No. (949) 756-0517
 Email mprescott@wzllo.com

 Follow us on:
 Confidential Communication: Emails from this firm normally contain confidential and privileged material
 and are for the sole use of the intended recipient. Use or distribution by an unintended recipient is
 prohibited and may be a violation of law. This communication and all attachments are confidential, in
 anticipation of litigation or in furtherance of litigation. The attorney client privilege, work product
 doctrine and privacy rights of the sender, recipients and third parties are specifically asserted as to this
 communication and all attachments, in addition to all other protections afforded by law, including
 without limitation, HIPAA, physician/patient privilege, trade secret, tax privacy, copyright and trademark
 laws. If you believe that you received this email in error, please do not read this email or any attached
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 36 of 38 Page ID
                                  #:5735




   items. Please delete the email and all attachments, including any copies thereof, and inform the sender
   that you have deleted the email, all attachments and any copies thereof. Thank you.
Case 8:22-cv-00868-JVS-ADS Document 190-1 Filed 09/11/23 Page 37 of 38 Page ID
                                  #:5736




      Original Message
  From: Brown, Blair G. <bbrown@zuckerman.com>
  Sent: Wednesday, September 6, 2023 10:44 AM
  To: Michelle R. Prescott <mprescott@WZLLP.COM>
  Cc: Leslie S. Sotelo <LSotelo@wzllp.com>; Fetterolf, Jon R. <JFetterolf@zuckerman.com>; Peyser, Nell Z
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  Subject: RE: Bauer v. Hill I Ex Parte Notice - Filing Today 9-6-2023

  **CAUTION: This email originated from outside of the organization.**

 Michelle:
 For the reasons discussed on our meet-and-confer call on Monday, September 4, as well as my email of
 Friday, September 1, we intend to oppose the ex parte application. Those reasons include, but are not
 limited to:

 (1) Your local counsel could have filed a properly supported motion to seal in the S.D. Ohio by the court-
 imposed deadline of yesterday but chose not to. Indeed, your local counsel's initial motion did not even
 mention the protective order in this case, Judge Spaeth's prior ruling ordering Doe's name to be
 redacted in a prior filing in this case, or that the information at issue concerned the sexual history of Doe
 and Mr. Bauer. Indeed, if your local counsel had simply attached and described the protective order in
 this case, it is unlikely the motion would have been denied. There is no basis for ex parte relief or
 amendment of the protective order where you could have complied with the protective order through a
 proper motion in S.D. Ohio.

 (2) You have waited too long to seek to compel the deposition of Doe, who you knew as of August 2
 would not attend her deposition on August 17. Accordingly, amendment of the protective order and an
 extension of fact discovery are not warranted.

 (3) Your application is not a proper basis for ex parte relief. You could have filed a properly noticed joint
 stipulation or motion in this court instead of using the extraordinary process of an ex parte application.

 We reserve the right to make additional points based on the arguments in your ex parte application.

 - Blair


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